Case 2:05-cr-80955-DML-RSW ECF No. 1643 filed 05/20/20                PageID.9953       Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



  UNITED STATES OF AMERICA,

         Plaintiff,                                                 Case Number 05-80955
  v.                                                                Honorable David M. Lawson

  DEMETRIUS FLENORY,

        Defendant.
  ____________________________________/


                 ORDER GRANTING DEFENDANT’S MOTION TO STRIKE

          This matter is before the Court on the defendant’s motion to strike. The motion

  challenges the government’s supplemental exhibit filed after a hearing on the defendant’s motion

  for compassionate release. The supplemental exhibit consists of an article by a journalist which

  contains unsubstantiated facts and has no evidentiary value. The government has not filed a

  response to the motion and the time for doing so has elapsed.

         Accordingly, it is ORDERED that the defendant’s motion to strike (ECF No. 1631) is

  GRANTED. The government’s supplemental exhibit (ECF No. 1630) shall be STRICKEN from

  the record.



                                                             s/David M. Lawson
                                                             DAVID. M. LAWSON
                                                             United States District Judge
  Dated: May 20, 2020
